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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11

AMYRIS, INC., et al.,                                               Case No. 23-11131 (TMH)

                                   Debtors.1                        (Jointly Administered)

                                                                    Re: Docket No. 136

                       AMENDED STATEMENT UNDER RULE 2016 OF THE
                        FEDERAL RULES OF BANKRUPTCY PROCEDURE

         Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), pursuant to Rule 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and section 329 of chapter 11 of title

11 of the United States Code (the “Bankruptcy Code”), states that the undersigned is proposed

counsel to the above-captioned debtors and debtors in possession (collectively, the “Debtors”) in

these cases. It further states:2

                  1.       PSZ&J received payments from the Debtors during the year prior to the

Petition Date in the amount of $1,874,692.003 (the “Retainer”) in connection with the

preparation of initial documents and the prepetition representation of the Debtors. After

application of the Retainer to pay prepetition amounts owed to PSZ&J, no balance of the

Retainer remains and PSZ&J waived any remaining balance due to it from the Debtors.

1        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.
2 Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Debtors’
Application for Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors
Effective as of the Petition Date (the “Application”).

3 One payment from the Debtors to PSZ&J was double counted.          This amount has been revised to correct the
inadvertent accounting error.
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        2.     PSZ&J will seek approval for payment of compensation by filing the appropriate

applications for allowance of final compensation pursuant to sections 330 and 331 of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and orders of this Court. The filing

fees for the Debtors have been paid in full.

        3.     The services to be rendered include all those services set forth in the Application,

submitted concurrently herewith.

        4.     PSZ&J further states that it has neither shared nor agreed to share (a) any

compensation it has received or may receive with another party or person, other than with the

partners, of counsel, and associates of PSZ&J, or (b) any compensation another person or party

has received or may have received.
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Dated: October 19, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Debra I. Grassgreen
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